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                         Exhibit 129

              September 24, 2024 Notice
                Delivery Confirmation
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From:         Lori Temple
To:           Josh Weiner
Subject:      FW: Your shipment was delivered
Date:         9/27/2024 1:21:00 PM
CC:
BCC:

Message:


Lori Temple
Executive Assistant
860-773-3447




www.catalinare.com


From: FedEx Tracking <TrackingUpdates@fedex.com>
Sent: Thursday, September 26, 2024 12:05 PM
To: Lori Temple <LoriTemple@Catalinare.com>
Subject: Your shipment was delivered


Warning: External email, use care with links & attachments


                         We've included the delivery details for you




                                                1
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    You
      ur ship
            pment was delivered.
                             Deliivery D
                             De        Daa te

                         Thu
                           u, 09//26
                                   6/20
                                      024
                             10
                              0:400am




                              Delivered
                                     ed to

                10805 OLD MILL RD, OMAHA, NE 68154


                              Rece
                                ceived
                                    ed by

                               A.APLLIED



                         Report missing package




                                     2
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               How wa
                   was yo
                       your delive
                                very?




 Tracking details


 Track
    cking ID                         778793694286



 From                                SPARTA Insurance Holdings, Inc
                                     5 Batterson Park Road
                                     3rd Floor
                                     FARMINGTON, CT, US
                                     06032



 To                                  Pennsyylvania Insurance Company
                                     10805 OLD MILL RD
                                     OMAHA, NE,, US
                                     68154



 Shi
  hip date                           Tue 9/24/2024 07:00 PM




                                 3
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 Number of pieces                    1



 Total shipment weight               0.50 LB



 Service                             FedEx 2Day®




                             TRACK SHIPMENT




                                     Easy options for
                                     your next shipment
                                     There’s no need to weigh packages or
                                     calculate shipping costs with FedEx
                                     One Rate®. Enjoy an easy shipping
                                     process with predictable pricing and
                                     complimentary flat-rate packaging
                                     options.


                                         EXPLORE FEDEX ONE RATE




                                 4
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   Please do not respond to this message. This email was sent from an unattended mailbox. This
report was generated at approximately 10:47 AM CDT 09/26/2024.


All weights are estimated.


To track the latest status of your shipment, click on the tracking number above.


Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see the
FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back
Guarantee, or contact your FedEx Customer Support representative.


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ID 1026




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